             Case 23-13648-CMG                    Doc 1      Filed 04/28/23 Entered 04/28/23 10:58:22                              Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEW JERSEY

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Blue Pig Media, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  56 Deerfield Trail
                                  Branchburg, NJ 08876
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Somerset                                                        Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.blue-pig-media.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    Blue Pig Media, LLC                                                                           Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5418

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
     A debtor who is a “small             Chapter 9
     business debtor” must check
                                          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                   $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                              operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                                exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                  The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                  debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                  When                                  Case number
                                                 District                                  When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 2
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Debtor    Blue Pig Media, LLC                                                                             Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
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Debtor   Blue Pig Media, LLC                                                          Case number (if known)
         Name

                               $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                               $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                               $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
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Debtor    Blue Pig Media, LLC                                                                      Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      April 28, 2023
                                                  MM / DD / YYYY


                             X   /s/ Karen Curtis                                                         Karen Curtis
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Interim Manager




18. Signature of attorney    X   /s/ David H. Stein, Esq.                                                  Date April 28, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 David H. Stein, Esq.
                                 Printed name

                                 Wilentz, Goldman & Spitzer, P.A.
                                 Firm name

                                 90 Woodbridge Center Drive
                                 Suite 900, Box 10
                                 Woodbridge, NJ 07095
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     732-636-8000                  Email address      dstein@wilentz.com

                                 038461986 (NJ) NJ
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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Fill in this information to identify the case:

Debtor name         Blue Pig Media, LLC

United States Bankruptcy Court for the:     DISTRICT OF NEW JERSEY

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       April 28, 2023                  X /s/ Karen Curtis
                                                           Signature of individual signing on behalf of debtor

                                                            Karen Curtis
                                                            Printed name

                                                            Interim Manager
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:

 Debtor name            Blue Pig Media, LLC

 United States Bankruptcy Court for the:                       DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $            82,500.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $            82,500.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            20,000.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        1,068,379.75


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           1,088,379.75




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
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Fill in this information to identify the case:

Debtor name         Blue Pig Media, LLC

United States Bankruptcy Court for the:     DISTRICT OF NEW JERSEY

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     Bank of America                                   Operating Account                     3143                                     Unknown




          3.2.     Digital Square account                                                                                                           Unknown



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                           $0.00
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.

7.        Deposits, including security deposits and utility deposits
          Description, including name of holder of deposit


          7.1.     Pre-paid deposits for digital services                                                                                           $8,000.00



8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                                         page 1
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Debtor       Blue Pig Media, LLC                                                            Case number (If known)
             Name

          Description, including name of holder of prepayment


9.        Total of Part 2.                                                                                                           $8,000.00
          Add lines 7 through 8. Copy the total to line 81.

Part 3:      Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

11.       Accounts receivable
          11a. 90 days old or less:                     74,500.00      -                                   0.00 = ....                 $74,500.00
                                       face amount                            doubtful or uncollectible accounts




12.       Total of Part 3.                                                                                                         $74,500.00
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.


Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                              Net book value of         Valuation method used   Current value of
                                                                           debtor's interest         for current value       debtor's interest
                                                                           (Where available)

39.       Office furniture
          Misc. computers, monitors and printer                                      Unknown                                            Unknown



40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software



Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                        page 2
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Debtor        Blue Pig Media, LLC                                                            Case number (If known)
              Name

42.        Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

43.        Total of Part 7.                                                                                                                       $0.00
           Add lines 39 through 42. Copy the total to line 86.

44.        Is a depreciation schedule available for any of the property listed in Part 7?
              No
              Yes

45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
              No
              Yes

Part 8:       Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.


Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.

55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of            Nature and              Net book value of           Valuation method used   Current value of
           property                               extent of               debtor's interest           for current value       debtor's interest
           Include street address or other        debtor's interest       (Where available)
           description such as Assessor           in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. Month to month lease
                    agreement for 350
                    Springfiled Avenue,
                    Summit, NJ 07901;
                    premises
                    surrendered                   rental                                   $0.00                                                  $0.00




56.        Total of Part 9.                                                                                                                  $0.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

57.        Is a depreciation schedule available for any of the property listed in Part 9?
              No
              Yes

58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
              No
              Yes

Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                             page 3
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Debtor        Blue Pig Media, LLC                                                          Case number (If known)
              Name


      No. Go to Part 11.
      Yes Fill in the information below.

           General description                                          Net book value of          Valuation method used   Current value of
                                                                        debtor's interest          for current value       debtor's interest
                                                                        (Where available)

60.        Patents, copyrights, trademarks, and trade secrets
           173 Domains in Go Daddy account                                              $0.00                                         Unknown


           "Blue Pig" tradename                                                    Unknown                                                  $0.00



61.        Internet domain names and websites
           www.blue-pig-media.com                                                  Unknown                                                  $0.00



62.        Licenses, franchises, and royalties

63.        Customer lists, mailing lists, or other compilations

64.        Other intangibles, or intellectual property

65.        Goodwill

66.        Total of Part 10.                                                                                                             $0.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
              No
              Yes

69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.




Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                       page 4
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Debtor          Blue Pig Media, LLC                                                                                 Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                                     $0.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                                   $8,000.00

82. Accounts receivable. Copy line 12, Part 3.                                                                     $74,500.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                              $82,500.00          + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                   $82,500.00




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                       page 5
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                            ACCOUNTS RECEIVABLE




Company                Address                          Invoice Date Anticipated        Invoice
                                                                     Receipt            Amount

Brookdale Discovery    2455 Back Mountain Road          Apr. 3, 2023     May 1, 2023       $ 12,500.00
Behavioral Health
                       Scotrun, PA 18355
Cirque Lodge           777 North Palisade Drive         4/27/23                             $10,000.00
                       Orem, UT 84087
Ebb Tide Treatment     400 Executive Center Drive       Feb. 1, 2022                        $ 5,000.00
Centers                Suite 209
                                                        Apr. 1, 2022                        $ 5,000.00
                       West Palm Beach, FL 33401
                                                        Dec. 1, 2022                        $ 5,000.00
                                                        Jan. 1, 2023                        $ 5,000.00
                                                        Feb. 1, 2023                        $ 5,000.00
                                                        Mar. 1,                             $ 5,000.00
                                                        2023
                                                                                            $ 5,000.00
                                                        Apr. 3, 2023

ENTOUCH Controls       1755 N Collins Blvd Suite 305    Apr. 3, 2023     May 1, 2023        $ 8,500.00
                       Richardson, TX 75080

Oceanfront Recovery    312 Broadway St Suite 202        Mar. 1,        Check returned       $ 4,000.00
LLC                                                     2023
                       Laguna Beach, CA 92651                           Apr. 17, 2023


Simple Cremation NJ    345 Main Street                  4/27/23 –                            $4,500.00
Bradley Funeral Home                                    estimated
                       Chatham, NJ 07928
                                                        from
                                                        historical
                                                        numbers


                                                       TOTAL:                       $74,500.00




   #13796686.1
           Case 23-13648-CMG                          Doc 1        Filed 04/28/23 Entered 04/28/23 10:58:22                                 Desc Main
                                                                  Document     Page 14 of 38
Fill in this information to identify the case:

Debtor name          Blue Pig Media, LLC

United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

Case number (if known)
                                                                                                                                            Check if this is an
                                                                                                                                            amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                   12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                  Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                              that supports this
                                                                                                                  Do not deduct the value     claim
                                                                                                                  of collateral.
2.1    CSC                                          Describe debtor's property that is subject to a lien                          $0.00               Unknown
       Creditor's Name                              All assets; UCC filing
       801 Adlai Stevenson Drive
       Springfield, IL 62703
       Creditor's mailing address                   Describe the lien
                                                    UCC filing
                                                    Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known               Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
           No                                          Contingent
           Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative
       priority.                                       Disputed




3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                  $0.00

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 1
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                                                              Document     Page 15 of 38
Fill in this information to identify the case:

Debtor name        Blue Pig Media, LLC

United States Bankruptcy Court for the:         DISTRICT OF NEW JERSEY

Case number (if known)
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                              12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                           $10,000.00          $10,000.00
          Estate of David Curtis                              Check all that apply.
          56 Deerfield Trail                                     Contingent
          Branchburg, NJ                                         Unliquidated
                                                                 Disputed

          Date or dates debt was incurred                     Basis for the claim:
          3/23                                                Services performed
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                 Yes


2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                                    $0.00      $0.00
          Internal Revenue Service                            Check all that apply.
          c/o US Attorney                                        Contingent
          District of New Jersey                                 Unliquidated
          970 Broad Street, Room 700                             Disputed
          Newark, NJ 07102
          Date or dates debt was incurred                     Basis for the claim:
                                                              Notice Purposes
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes




Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                      page 1 of 5
                                                                                                              28261
          Case 23-13648-CMG                         Doc 1       Filed 04/28/23 Entered 04/28/23 10:58:22                                        Desc Main
                                                               Document     Page 16 of 38
Debtor       Blue Pig Media, LLC                                                                        Case number (if known)
             Name

2.3       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                    $0.00       $0.00
          Internal Revenue Service                             Check all that apply.
          1111 Constitution Avenue, NW                            Contingent
          Washington, DC 20224                                    Unliquidated
                                                                  Disputed

          Date or dates debt was incurred                      Basis for the claim:
                                                               Notice Purposes
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes


2.4       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                             $10,000.00         $10,000.00
          Karen Curtis                                         Check all that apply.
          56 Deerfield Trail                                      Contingent
          Branchburg, NJ 08876                                    Unliquidated
                                                                  Disputed

          Date or dates debt was incurred                      Basis for the claim:
          3/23                                                 Services performed
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                  Yes


2.5       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                    $0.00       $0.00
          State of New Jersey                                  Check all that apply.
          Division of Taxation                                    Contingent
          50 Barrack Street                                       Unliquidated
          P.O. Box 269                                            Disputed
          Trenton, NJ 08695
          Date or dates debt was incurred                      Basis for the claim:
                                                               Notice Purposes
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes


2.6       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                    $0.00       $0.00
          State of New Jersey                                  Check all that apply.
          Department of Labor                                     Contingent
          Division of Employer Accounts                           Unliquidated
          P.O. Box 059                                            Disputed
          Trenton, NJ 08625
          Date or dates debt was incurred                      Basis for the claim:
                                                               Notice Purposes
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes



Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim




Official Form 206 E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 2 of 5
          Case 23-13648-CMG                    Doc 1        Filed 04/28/23 Entered 04/28/23 10:58:22                                     Desc Main
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Debtor      Blue Pig Media, LLC                                                             Case number (if known)
            Name

3.1      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $48,855.06
         Bank of America                                              Contingent
         50 Route 173                                                 Unliquidated
         Clinton, NJ 08809                                            Disputed
         Date(s) debt was incurred
                                                                                  Corporate credit cards
                                                                   Basis for the claim:
         Last 4 digits of account number                           Account Numbers: xxxx xxxx xxxx 5248;
                                                                   xxxx xxxx xxxx 4985; xxxx xxxx xxxx 0304; xxxx xxxx xxxx 8073
                                                                   Is the claim subject to offset?     No       Yes

3.2      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $187,507.00
         BiViSee Spolka
         Adama Mickiewicza 37/58                                      Contingent
         01-625 Warsxawa                                              Unliquidated
         Warsaw, Poland                                               Disputed
         Date(s) debt was incurred November, 2022 -
                                                                   Basis for the claim:    Services performed
         January, 2023
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.3      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,200.00
         Christopher Lawrence                                         Contingent
         245 Belgo Road                                               Unliquidated
         Lakeville, CT 06030                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Services performed.
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $28,191.40
         Estate of David Curtis                                       Contingent
         56 Deerfield Trail                                           Unliquidated
         Branchburg, NJ 08876                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Monies loaned
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $67,992.80
         Fora Financial                                               Contingent
         519 8th Aveneu, 11th Floor                                   Unliquidated
         New York, NY 10018
                                                                      Disputed
         Date(s) debt was incurred 7/21/22
                                                                   Basis for the claim:    Merchant financing
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $40,833.25
         Funding Metrics/Lendini                                      Contingent
         3220 Tillman Drive, Suite 200                                Unliquidated
         Bensalem, PA 19020                                           Disputed
         Date(s) debt was incurred 10/28/22
                                                                   Basis for the claim:    Merchant financing
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $35,535.00
         GFE                                                          Contingent
         27-01 Queens Plaza, North                                    Unliquidated
         Suite 802
                                                                      Disputed
         Long Island City, NY 11101
         Date(s) debt was incurred 2/15/23
                                                                   Basis for the claim:    Merchant financing
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 3 of 5
          Case 23-13648-CMG                    Doc 1        Filed 04/28/23 Entered 04/28/23 10:58:22                                     Desc Main
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Debtor      Blue Pig Media, LLC                                                             Case number (if known)
            Name

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $15,000.00
         Jay Staples                                                  Contingent
         5200 Keller Springs Road #1032                               Unliquidated
         Dallas, TX 75248                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Services performed.
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,500.00
         Joel Rusher                                                  Contingent
         1263 Snowbel Place                                           Unliquidated
         Wellington, FL 33414                                         Disputed
         Date(s) debt was incurred   3/23                          Basis for the claim:    Services performed
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,500.00
         John Moriarity                                               Contingent
         45 North Fulerton Aveneu                                     Unliquidated
         Apt. 101
                                                                      Disputed
         Montclair, NJ 07042
         Date(s) debt was incurred 3/23
                                                                   Basis for the claim:    Serices performed
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,140.00
         Jose Valentin                                                Contingent
         1036A Apache Street                                          Unliquidated
         North Brunswick, NJ 08902
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Services performed
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $398,829.83
         Karen Curtis                                                 Contingent
         56 Deerfield Trail                                           Unliquidated
         Branchburg, NJ 08876                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Monies loaned
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $31,104.00
         Mint Creative Marketing Ltd.                                 Contingent
         22 Hanley Road                                               Unliquidated
         Malvern, WR14 4PH UK
                                                                      Disputed
         Date(s) debt was incurred 2/23 - 3/23
                                                                   Basis for the claim:    Services performed
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $25,125.00
         Mulligan Funding/FinWise Bank                                Contingent
         4715 Viewridge Anebue, Suite 100                             Unliquidated
         San Diego, CA 92123
                                                                      Disputed
         Date(s) debt was incurred 7/20/22
                                                                   Basis for the claim:    Merchant financing
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 4 of 5
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Debtor       Blue Pig Media, LLC                                                                    Case number (if known)
             Name

3.15      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.             $142,882.41
          PayPal Loan Builder                                                  Contingent
          3505 Silverside Road                                                 Unliquidated
          Wilmington, DE 19810
                                                                               Disputed
          Date(s) debt was incurred 2/15/23
                                                                           Basis for the claim:    Merchant financing
          Last 4 digits of account number
                                                                           Is the claim subject to offset?       No     Yes

3.16      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $14,822.00
          Wagdy Fahmi                                                          Contingent
          09 Sinclair Drive                                                    Unliquidated
          Sutton, London SM25NE
                                                                               Disputed
          UK
          Date(s) debt was incurred 1/31/23
                                                                           Basis for the claim:    Services performed
          Last 4 digits of account number                                  Is the claim subject to offset?       No     Yes

3.17      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $20,362.00
          Wiliam Cleveland & Co.                                               Contingent
          2141 Plymouth Avenue SE                                              Unliquidated
          Grand Rapids, MI 49506                                               Disputed
          Date(s) debt was incurred 3/1/23
                                                                           Basis for the claim:    Services performed
          Last 4 digits of account number
                                                                           Is the claim subject to offset?       No     Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                    related creditor (if any) listed?               account number, if
                                                                                                                                                    any

Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
5a. Total claims from Part 1                                                                           5a.        $                        20,000.00
5b. Total claims from Part 2                                                                           5b.   +    $                     1,068,379.75

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                5c.        $                        1,088,379.75




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 5 of 5
          Case 23-13648-CMG                    Doc 1      Filed 04/28/23 Entered 04/28/23 10:58:22                                  Desc Main
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Fill in this information to identify the case:

Debtor name       Blue Pig Media, LLC

United States Bankruptcy Court for the:     DISTRICT OF NEW JERSEY

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
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Fill in this information to identify the case:

Debtor name      Blue Pig Media, LLC

United States Bankruptcy Court for the:   DISTRICT OF NEW JERSEY

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    David Curtis                c/o Estate of David Curtis                                Fora Financial                     D
                                      56 Deerfield Trail                                                                           E/F
                                      Branchburg, NJ 08876                                                                         G




   2.2    David Curtis                c/o Estate of David Curtis                                Funding                            D
                                      56 Deerfield Trail                                        Metrics/Lendini                    E/F
                                      Branchburg, NJ 08876                                                                         G




   2.3    David Curtis                c/o Estate of David Curtis                                GFE                                D
                                      56 Deerfield Trail                                                                           E/F
                                      Branchburg, NJ 08876                                                                         G




   2.4    David Curtis                c/o Estate of David Curtis                                Mulligan                           D
                                      56 Deerfield Trail                                        Funding/FinWise                    E/F
                                      Branchburg, NJ 08876                                      Bank                               G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 2
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Debtor    Blue Pig Media, LLC                                                     Case number (if known)


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                          Column 2: Creditor



  2.5     David Curtis             c/o Estate of David Curtis                          PayPal Loan Builder                D
                                   56 Deerfield Trail                                                                     E/F
                                   Branchburg, NJ 08876                                                                   G




Official Form 206H                                              Schedule H: Your Codebtors                                      Page 2 of 2
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Fill in this information to identify the case:

Debtor name         Blue Pig Media, LLC

United States Bankruptcy Court for the:    DISTRICT OF NEW JERSEY

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                               $349,728.00
      From 1/01/2023 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                             $1,429,189.00
      From 1/01/2022 to 12/31/2022
                                                                                          Other


      For year before that:                                                               Operating a business                             $1,011,328.00
      From 1/01/2021 to 12/31/2021
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
          Case 23-13648-CMG                    Doc 1       Filed 04/28/23 Entered 04/28/23 10:58:22                                    Desc Main
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Debtor       Blue Pig Media, LLC                                                                Case number (if known)



      Creditor's Name and Address                                  Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                         Check all that apply
      3.1.
             .                                                     See attached                            $0.00              Secured debt
                                                                   schedule                                                   Unsecured loan repayments
                                                                                                                              Suppliers or vendors
                                                                                                                              Services
                                                                                                                              Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

             Case title                                Nature of case              Court or agency's name and                  Status of case
             Case number                                                           address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

             Recipient's name and address              Description of the gifts or contributions                 Dates given                              Value

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Debtor       Blue Pig Media, LLC                                                                 Case number (if known)



             Recipient's name and address             Description of the gifts or contributions                  Dates given                        Value

      9.1.   Hudson Farm Foundation
             Attn: Steve Polanish
             270 Stanhope Sparta Rd.
             Andover, NJ 07821                                                                                                                $10,000.00

             Recipients relationship to debtor



      9.2.   Cirque Lodge Foundation
             777 N. Palisade Drive
             Orem, UT 84097                                                                                                                        $30.00

             Recipients relationship to debtor



      9.3.   Oasis, a Haven for Womem &
             Children
             59 Mill Street
             Paterson, NJ 07501                                                                                                                $1,000.00

             Recipients relationship to debtor



      9.4.   Hackensack Meridian Health
             Foundation
             343 Thornall Street, 7th Floor
             Edison, NJ 08837                                                                                                                  $2,000.00

             Recipients relationship to debtor



      9.5.   Strive International, Inc.
             205 East 122nd Street, 3rd
             Floor
             New York, NY 10035                                                                                                                  $500.00

             Recipients relationship to debtor




Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and            Amount of payments received for the loss                   Dates of loss          Value of property
      how the loss occurred                                                                                                                          lost
                                                      If you have received payments to cover the loss, for
                                                      example, from insurance, government compensation, or
                                                      tort liability, list the total received.

                                                      List unpaid claims on Official Form 106A/B (Schedule
                                                      A/B: Assets – Real and Personal Property).

Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.


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          None.

               Who was paid or who received              If not money, describe any property transferred               Dates                Total amount or
               the transfer?                                                                                                                         value
               Address
      11.1.    Wilentz, Goldman & Spitzer,
               P.A.
               90 Woodbridge Center Drive,
               Box 10
               Attention: David H. Stein,
               Esq.                                      Retainer and filing fee for bankruptcy
               Woodbridge, NJ 07095                      filing                                                        3/20/23                    $5,338.00

               Email or website address
               dstein@wilentz.com

               Who made the payment, if not debtor?




      11.2.    Wilentz, Goldman & Spitzer,
               P.A.
               90 Woodbridge Center Drive,
               Box 10                                    Payment related to debt counseling, debt
               Woodbridge, NJ 07095                      retructuring and debt relief                                  4/17/23                   $13,738.00

               Email or website address
               dstein@wilentz.com

               Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                            Describe any property transferred                    Dates transfers               Total amount or
                                                                                                              were made                              value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

              Who received transfer?                   Description of property transferred or                    Date transfer              Total amount or
              Address                                  payments received or debts paid in exchange               was made                            value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

               Address                                                                                             Dates of occupancy
                                                                                                                   From-To

Part 8:       Health Care Bankruptcies

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15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


               Facility name and address                Nature of the business operation, including type of services                If debtor provides meals
                                                        the debtor provides                                                         and housing, number of
                                                                                                                                    patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.



                 Does the debtor have a privacy policy about that information?
                   No
                    Yes

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and            Last 4 digits of           Type of account or          Date account was                  Last balance
              Address                                   account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.




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         None

      Facility name and address                             Names of anyone with                  Description of the contents                   Does debtor
                                                            access to it                                                                        still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

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26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                              Date of service
                                                                                                                                    From-To
      26a.1.        Wayne Johnson, CPA



    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        Karen Curtis



    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Estate of David Curtis                  56 Deerfield Trail                                  Former Member                             100%
                                              Branchburg, NJ 08876

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Karen Curtis                            56 Deerfield Trail                                  Interim Manager
                                              Somerville, NJ 08876



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.




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      Name                                   Address                                              Position and nature of any        Period during which
                                                                                                  interest                          position or interest
                                                                                                                                    was held
      Estate of David Curtis                 56 Deerfield Trail                                   Member                            Formation to
                                             Somerville, NJ 08876                                                                   March 16, 2023


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient             Amount of money or description and value of               Dates              Reason for
                                                       property                                                                     providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                      Employer Identification number of the parent
                                                                                                       corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                       fund

Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         April 28, 2023

/s/ Karen Curtis                                                Karen Curtis
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   Interim Manager

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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    Statement of Financial Affairs: Schedule to #3: payments in last 90 days


 Date         Entity          Ledger entry                                     Category      Amount
                              WIRE TYPE:INTL OUT DATE:221220 TIME:1132 ET
                              TRN:XXXXXXXXXX347810 SERVICE REF:596368
                              BNF:BIVISEE ID:PLXXXXXXXXXX2078 BNF
                              BK:NEST BANK S      .A. (FORMERL
              BIVISEE/RTC     ID:NESBPLPW PMT DET:XXXXX7384 INV FV2
 12/20/2022   GROUP           022 10002 POP SERVICES                           Contractors     $30,000.00

                              WIRE TYPE:INTL OUT DATE:230124 TIME:1039 ET
                              TRN:XXXXXXXXXX240481 SERVICE REF:599424
                              BNF:BIVISEE ID:PLXXXXXXXXXX2078 BNF
                              BK:NEST BANK S      .A. (FORMERL
              BIVISEE/RTC     ID:NESBPLPW PMT DET:XXXXX2830 INVOICE
  1/24/2023   GROUP           FV2022 10 002 POP SERVICES                       Contractors     $17,521.00
              Joel J.         TRANSFER BLUE PIG MEDIA LLC:Joel Rusher
  12/1/2022   Rusher          Confirmation# XXXXX57295                         Contractors     $ 4,583.34
              Joel J.         TRANSFER BLUE PIG MEDIA LLC:Joel Rusher
 12/15/2022   Rusher          Confirmation# XXXXX29841                         Contractors     $ 4,583.33
              Joel J.         TRANSFER BLUE PIG MEDIA LLC:Joel Rusher
 12/21/2022   Rusher          Confirmation# XXXXX31471                         Contractors     $10,000.00
              Joel J.         TRANSFER BLUE PIG MEDIA LLC:Joel Rusher
  1/12/2023   Rusher          Confirmation# XXXXX23743                         Contractors     $ 4,583.34
              Joel J.         TRANSFER BLUE PIG MEDIA LLC:Joel Rusher
  1/25/2023   Rusher          Confirmation# XXXXX80145                         Contractors     $ 4,583.33
              Joel J.         TRANSFER BLUE PIG MEDIA LLC:Joel Rusher
   2/7/2023   Rusher          Confirmation# XXXXX16074                         Contractors     $ 4,583.34
              Joel J.         TRANSFER BLUE PIG MEDIA LLC:Joel Rusher
  2/24/2023   Rusher          Confirmation# XXXXX32121                         Contractors     $ 4,583.33
                              TRANSFER BLUE PIG MEDIA LLC:Jose Valentin
  12/5/2022   Jose Valentin   Confirmation# XXXXX49871                         Contractors     $ 2,400.00
                              TRANSFER BLUE PIG MEDIA LLC:Jose Valentin
 12/20/2022   Jose Valentin   Confirmation# XXXXX45874                         Contractors     $ 2,070.00
                              TRANSFER BLUE PIG MEDIA LLC:Jose Valentin
   1/5/2023   Jose Valentin   Confirmation# XXXXX73368                         Contractors     $ 2,250.00
                              TRANSFER BLUE PIG MEDIA LLC:Jose Valentin
  1/20/2023   Jose Valentin   Confirmation# XXXXX69750                         Contractors     $ 2,220.00
                              TRANSFER BLUE PIG MEDIA LLC:Jose Valentin
   2/6/2023   Jose Valentin   Confirmation# XXXXX34690                         Contractors     $ 3,000.00
                              TRANSFER BLUE PIG MEDIA LLC:Jose Valentin
  2/17/2023   Jose Valentin   Confirmation# XXXXX18380                         Contractors     $ 2,400.00
                              TRANSFER BLUE PIG MEDIA LLC:Jose Valentin
   3/6/2023   Jose Valentin   Confirmation# XXXXX23689                         Contractors     $ 1,380.00
                              WIRE TYPE:FX OUT DATE:221221 TIME:1205 ET
                              TRN:XXXXXXXXXX345853 FX:GBP 12901.38 1.2429
                              BNF:MINT CONTENT ID:GB81BUKB20986813 BNF
                              BK:BARCLA        YS UK AND EUROP.. ID:SC209868
                              PMT DET:XXXXX6468 IN       V 0611 POP
 12/20/2022   mint content    SERVICES                                         Contractors     $16,035.12
                              WIRE TYPE:FX OUT DATE:230124 TIME:1154 ET
                              TRN:XXXXXXXXXX299685 FX:GBP 13414.85 1.2643
                              BNF:MINT CONTENT ID:GB81BUKB20986813 BNF
                              BK:BARCLA        YS UK AND EUROP.. ID:SC209868
                              PMT DET:XXXXX0190 IN       V0637 POP
  1/23/2023   mint content    SERVICES                                         Contractors     $16,960.40
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                             WIRE TYPE:FX OUT DATE:230217 TIME:1718 ET
                             TRN:XXXXXXXXXX469464 FX:GBP 8897.41 1.227
                             BNF:MINT CONTENT ID:GB81BUKB20986813 BNF
                             BK:BARCLA     YS UK AND EUROP.. ID:SC209868
                             PMT DET:XXXXX7166 IN     V0661 POP
  2/16/2023   mint content   SERVICES                                        Contractors     $10,917.12

                             WIRE TYPE:FX OUT DATE:221206 TIME:1014 ET
                             TRN:XXXXXXXXXX366405 FX:GBP 6403.75 1.2631
                             BNF:WAGDY FAHMI ID:GB26LOYD30943839 BNF
                             BK:LLOYDS       TSB BANK PLC ID:SC309438 PMT
              WAGDY          DET:XXXXX9372 INVOICE      16 POP SERVICES
  12/5/2022   FAHMI          /FXREF/TE-2-11-XXXXX4984                        Contractors     $ 8,088.58

                             WIRE TYPE:FX OUT DATE:230221 TIME:1702 ET
                             TRN:XXXXXXXXXX468532 FX:GBP 2831.25 1.2297
                             BNF:WAGDY FAHMI ID:GB26LOYD30943839 BNF
                             BK:LLOYDS       TSB BANK PLC ID:SC309438 PMT
              WAGDY          DET:XXXXX6848 INVOICE      17 POP SERVICES
  2/16/2023   FAHMI          /FXREF/TE-2-16-XXXXX0130                        Contractors     $ 3,481.59
              WILLIAM S.     TRANSFER BLUE PIG MEDIA LLC:William Cleveland
  12/2/2022   CLEVELAND      &     Confirmation# XXXXX25911                  Contractors     $ 4,004.95
              WILLIAM S.     TRANSFER BLUE PIG MEDIA LLC:William Cleveland
 12/19/2022   CLEVELAND      &     Confirmation# XXXXX17514                  Contractors     $ 3,935.83
              WILLIAM S.     TRANSFER BLUE PIG MEDIA LLC:William Cleveland
 12/27/2022   CLEVELAND      &     Confirmation# XXXXX55572                  Contractors     $ 4,711.79
              WILLIAM S.     TRANSFER BLUE PIG MEDIA LLC:William Cleveland
  1/30/2023   CLEVELAND      &     Confirmation# XXXXX19333                  Contractors     $ 4,676.67
              WILLIAM S.     TRANSFER BLUE PIG MEDIA LLC:William Cleveland
   3/2/2023   CLEVELAND      &       Confirmation# XXXXX63119                Contractors     $ 6,385.83
                             HUDSON FARM CLUB DES:SALE         ID:
                             INDN:LLC BLUE PIG MEDIA     CO ID:XXXXX86202    Meals &
 12/28/2022                  CCD                                             Entertainment   $   592.92
                             HUDSON FARM CLUB DES:SALE         ID:
                             INDN:BLUE PIG MEDIA LLC     CO ID:XXXXX86202    Meals &
  2/21/2023                  CCD                                             Entertainment   $ 1,780.64
                             HUDSON FARM CLUB DES:SALE         ID:
                             INDN:BLUE PIG MEDIA LLC     CO ID:XXXXX86202    Meals &
  2/21/2023                  CCD                                             Entertainment   $ 7,939.59
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B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                                     District of New Jersey
 In re       Blue Pig Media, LLC                                                                              Case No.
                                                                              Debtor(s)                       Chapter       7

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.    Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
      compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
      be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     5,000.00
             Prior to the filing of this statement I have received                                        $                        0.00
             Balance Due                                                                                  $                     5,000.00

2.    $     338.00      of the filing fee has been paid.

3.    The source of the compensation paid to me was:

                  Debtor             Other (specify):

4.    The source of compensation to be paid to me is:

                  Debtor             Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

      a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
      b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
      c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
      d.    [Other provisions as needed]


7.    By agreement with the debtor(s), the above-disclosed fee does not include the following service:
              Representation of the Debtor(s) in any dischargeability actions, judicial lien avoidances, relief from stay actions
              or any other adversary proceeding.
                                                                       CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     April 28, 2023                                                           /s/ David H. Stein, Esq.
     Date                                                                     David H. Stein, Esq.
                                                                              Signature of Attorney
                                                                              Wilentz, Goldman & Spitzer, P.A.
                                                                              90 Woodbridge Center Drive
                                                                              Suite 900, Box 10
                                                                              Woodbridge, NJ 07095
                                                                              732-636-8000 Fax: 732-855-6117
                                                                              dstein@wilentz.com
                                                                              Name of law firm
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                                               United States Bankruptcy Court
                                                         District of New Jersey
 In re   Blue Pig Media, LLC                                                                    Case No.
                                                                    Debtor(s)                   Chapter      7




                                   VERIFICATION OF CREDITOR MATRIX


I, the Interim Manager of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.




Date:     April 28, 2023                                /s/ Karen Curtis
                                                        Karen Curtis/Interim Manager
                                                        Signer/Title
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                        Bank of America
                        50 Route 173
                        Clinton, NJ 08809


                        BiViSee Spolka
                        Adama Mickiewicza 37/58
                        01-625 Warsxawa
                        Warsaw, Poland


                        Christopher Lawrence
                        245 Belgo Road
                        Lakeville, CT 06030


                        CSC
                        801 Adlai Stevenson Drive
                        Springfield, IL 62703


                        David Curtis
                        c/o Estate of David Curtis
                        56 Deerfield Trail
                        Branchburg, NJ 08876


                        Estate of David Curtis
                        56 Deerfield Trail
                        Branchburg, NJ 08876


                        Estate of David Curtis
                        56 Deerfield Trail
                        Branchburg, NJ


                        Fora Financial
                        519 8th Aveneu, 11th Floor
                        New York, NY 10018


                        Funding Metrics/Lendini
                        3220 Tillman Drive, Suite 200
                        Bensalem, PA 19020


                        GFE
                        27-01 Queens Plaza, North
                        Suite 802
                        Long Island City, NY 11101
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                    Internal Revenue Service
                    c/o US Attorney
                    District of New Jersey
                    970 Broad Street, Room 700
                    Newark, NJ 07102


                    Internal Revenue Service
                    1111 Constitution Avenue, NW
                    Washington, DC 20224


                    Jay Staples
                    5200 Keller Springs Road #1032
                    Dallas, TX 75248


                    Joel Rusher
                    1263 Snowbel Place
                    Wellington, FL 33414


                    John Moriarity
                    45 North Fulerton Aveneu
                    Apt. 101
                    Montclair, NJ 07042


                    Jose Valentin
                    1036A Apache Street
                    North Brunswick, NJ 08902


                    Karen Curtis
                    56 Deerfield Trail
                    Branchburg, NJ 08876


                    Mint Creative Marketing Ltd.
                    22 Hanley Road
                    Malvern, WR14 4PH UK


                    Mulligan Funding/FinWise Bank
                    4715 Viewridge Anebue, Suite 100
                    San Diego, CA 92123


                    PayPal Loan Builder
                    3505 Silverside Road
                    Wilmington, DE 19810
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                    State of New Jersey
                    Division of Taxation
                    50 Barrack Street
                    P.O. Box 269
                    Trenton, NJ 08695


                    State of New Jersey
                    Department of Labor
                    Division of Employer Accounts
                    P.O. Box 059
                    Trenton, NJ 08625


                    Wagdy Fahmi
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                    Sutton, London SM25NE
                    UK


                    Wiliam Cleveland & Co.
                    2141 Plymouth Avenue SE
                    Grand Rapids, MI 49506
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                                        United States Bankruptcy Court
                                                 District of New Jersey
 In re   Blue Pig Media, LLC                                                        Case No.
                                                            Debtor(s)               Chapter    7




                               CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Blue Pig Media, LLC in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




April 28, 2023                                 /s/ David H. Stein, Esq.
Date                                           David H. Stein, Esq.
                                               Signature of Attorney or Litigant
                                               Counsel for Blue Pig Media, LLC
                                               Wilentz, Goldman & Spitzer, P.A.
                                               90 Woodbridge Center Drive
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                                               Woodbridge, NJ 07095
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